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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                            23-Cr-490 (SHS)

                  -v-                                                ORDER

ROBERT MENENDEZ, ET AL.

                                   Defendant.

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SIDNEY H. STEIN, U.S. District Judge .

        It has come to the Court' s attention that the parties have not been following the Court' s
Order dated January 30, 2024 [Doc. No. 169]. As of today, the Court has now filed each
document under seal as requested by the parties, but the parties must, within five days of having
submitted the document to the Court, file the entire document or a redacted document on the
public record and email the basis for any redactions to the Court for filing under seal. The parties
are directed to file the entire document or a redacted document on the public record, as required
by the Court' s Order dated January 30, 2024 [Doc. No. 169].

Dated: New York, New York
       February 27, 2024

                                                     SO ORDERED:
